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     Attorneys for Defendants
 9   INTERFOCUS, INC. d.b.a.
     www.patpat.com
10
                              UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12
     NEMAN BROTHERS & ASSOC.,                Case No. 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation,
                                             DEFENDANT AND
14               Plaintiff,                  COUNTERCLAIM PLAINTIFF
                                             INTERFOCUS, INC., d.b.a.
15         v.                                WWW.PATPAT.COM’s INITIAL
                                             DISCLOSURES PURSUANT TO
16   INTERFOCUS, INC. d.b.a.                 FRCP 26(a)
     www.patpat.com, a Delaware
17   Corporation; CAN WANG, and              DEMAND FOR JURY TRIAL
     individual, and DOES 1-10, inclusive,
18                                           (The Hon. Christine A. Snyder)
                 Defendants.
19                                           Amended Complaint filed January 5,
                                             2021
20
     INTERFOCUS, INC. d.b.a.
21   www.patpat.com, a Delaware
     Corporation; CAN WANG, and
22   individual, and DOES 1-10, inclusive,
23               Counterclaim Plaintiffs
24         v.
25   NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
26
                 Counterclaim Defendant.
27
28
            DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
            WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
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 1                           I.         PRELIMINARY STATEMENT
 2         Defendant and Counterclaim Plaintiff InterFocus Inc. dba www.patpat.com
 3   (“Interfocus”), through its undersigned counsel, makes the following initial disclosures
 4   to Plaintiffs and Counterclaim Defendants in this action. These disclosures are based
 5   on information presently known and reasonably available to InterFocus, and which
 6   InterFocus reasonably believes it may use in support of its claims and responses to any
 7   affirmative defenses. InterFocus’ investigation and discovery is continuing, and may
 8   cause InterFocus to amend these disclosures, including by identifying other potential
 9   witnesses, documents and by disclosing other pertinent information. InterFocus
10   reserves the right to supplement these initial disclosures for these reasons.
11         InterFocus does not represent it is identifying every document, tangible thing or
12   witness possibly relevant to this action by providing these disclosures. Further, these
13   disclosures are made without InterFocus in any way waiving its right to object to any
14   discovery requests or proceeding involving or relating to the subject matter of these
15   disclosures on any ground, including competency, privilege, relevancy in materiality,
16   hearsay, burden, confidentiality, or other appropriate grounds. Further, these
17   disclosures are not an admission by InterFocus regarding any matter.
18         Each and every disclosure set forth below is subject to the above qualifications
19   and limitations.
20                                II.     INITIAL DISCLOSURES
21         A.     Persons
22         Individuals likely to have discoverable factual information that InterFocus may
23   use to support its claims in the above-referenced action are as follows:
24     Name of Individual                Contact Information          Subject Matter of
25       Likely to Have                 (Address and telephone          Discoverable
          Discoverable                        Number)                   Information
26        Information
27    Weiwei Li                    Rimon, P.C.                     Lack of copyright
                                                                   infringement; Neman’s
28
                                                   2
             DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
             WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
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 1     Name of Individual         Contact Information         Subject Matter of
         Likely to Have          (Address and telephone         Discoverable
 2        Discoverable                 Number)                  Information
 3        Information
                                                            breach of settlement
 4                                                          agreement; InterFocus’
 5                                                          observance of the
                                                            settlement agreement;
 6                                                          previous settlement
 7    InterFocus employee(s)   Rimon, P.C.                  Lack of copyright
                                                            infringement; Neman’s
 8                                                          breach of settlement
 9                                                          agreement; InterFocus’
                                                            observance of the
10                                                          settlement agreement;
11                                                          previous settlement
      Foshan Balong Garment 3 / F, Building A, No.19,       Design and
12    Co., Ltd              Pinggui Street,                 manufacturing of
13                          Foping Road,                    allegedly infringing
                            Chancheng District,             garments; origin of the
14                          Foshan City,                    fabric patterns used on
15                          Guangdong Province,             those garments; non-
                            China                           infringement
16    Foshan Chancheng      No. 17, Zhenan East Road,       Design and
17    District Aibeibei     Zumiao Sub-district Office,     manufacturing of
      Garment Factory       Chancheng District,             allegedly infringing
18                          Foshan City,                    garments; origin of the
19                          Guangdong Province,             fabric patterns used on
                            China                           those garments; non-
20
                                                            infringement
21    Guangzhou Xinqi         No. 17, Zhenan East Road,     Design and
      Yijian Garment Co., Ltd Zumiao Sub-district Office,   manufacturing of
22
                              Chancheng District,           allegedly infringing
23                            Foshan City,                  garments; origin of the
                              Guangdong Province,           fabric patterns used on
24
                              China                         those garments; non-
25                                                          infringement
26    P Plaintiff’s            Plaintiff’s counsel          Neman Brothers’ entry
      employee(s) (TBD)                                     into previous settlement
27    employee(s) (TBD)                                     agreement; breach of
28
                                               3
            DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
            WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
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 1      Name of Individual           Contact Information             Subject Matter of
          Likely to Have            (Address and telephone             Discoverable
 2         Discoverable                   Number)                      Information
 3         Information
                                                                  settlement agreement;
 4                                                                lack of copyright
 5                                                                infringement; Plaintiff’s
                                                                  conduct in other litigation
 6
           B.      Description of Documents
 7
           InterFocus enumerates the following documents, data compilations, and other
 8
     tangible things in the possession, custody or control of InterFocus it may use to support
 9
     its claims.
10
                  Communications with plaintiff re settle or prior lawsuit
11
                  Settlement agreement
12
13                Communication from plaintiff to take down potentially infringing items
                   after the settlement
14
15                Documents showing InterFocus taking down potentially infringing items
                   shortly after receiving notification from plaintiff
16
                  Documents showing that the alleged infringing fabric were independently
17
                   created by third parties
18
                  Documents showing similar fabric designs
19
20         C.      Computation of Damages
21         InterFocus presently plans to seek damages on the following bases:
22         Compensatory damages caused by Neman’s breach of contract;
23         Incidental damages caused by Neman’s breach of contract;
24         Other legal or equitable remedies; and
25         Attorneys’ fees to defend this lawsuit.
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27
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                                                 4
               DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
               WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
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 1         D.     Insurance.
 2         Although it is continuing to investigate the matter, InterFocus is presently aware
 3   of no insurance that covers the harm it has suffered from the conduct alleged in its
 4   complaint.
                                                  RIMON, P.C.
 5
     Dated: April 12, 2021
 6
                                            By:         /s/ Mark S. Lee
 7                                                Mark S. Lee
 8                                                Zheng Liu
                                                  Attorneys for Defendants
 9                                                INTERFOCUS, INC. d.b.a.
10                                                www.patpat.com

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             DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
             WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
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 1                                   PROOF OF SERVICE
 2         I, Cheryl Lovdahl, am over the age of 18 and not a party to this action. My
 3   place of business is 800 Oak Grove Avenue, Suite 250, Menlo Park, CA 94025. On
 4   April 12, 2021, I served the following attached document(s):
 5         1.     DEFENDANT AND COUNTERCLAIM PLAINTIFF
                  INTERFOCUS, INC., d.b.a. WWW.PATPAT.COM’s INITIAL
 6                DISCLOSURES PURSUANT TO FRCP 26(a)
 7   on the person(s) listed below in the following manner/s:
 8
             BY UNITED STATES MAIL. I enclosed the document(s) in a
 9           sealed envelope or package addressed to the person(s) at the
10           address(es) below and placed the envelope for collection and
             mailing following our ordinary business practices. I am readily
11          familiar with this business' practice for collecting and processing
12           documents for mailing. On the same day that correspondence is
             placed for collection and mailing, it is deposited in the ordinary
13           course of business with the United States Postal Service in a sealed
14           envelope with postage fully prepaid.
15           BY ELECTRONIC MAIL. I sent the persons below copies of the
            documents via electronic mail at the email addresses below.
16
17         The following party was served the above-referenced document(s):
18
                            Chan Yong Jeong, Esq. (SBN 255244)
19                                  jeong@jeonglikens.com
                                   JEONG & LIKENS, L.C.
20
                                   222 South Oxford Avenue
21                               Los Angeles, California 90004
                                    Telephone: 213.688.2001
22
                     Attorneys for Plaintiffs Neman Brothers & Assoc., Inc.
23
           I declare under penalty of perjury under the laws of the State of California that
24
     the foregoing is true and correct.
25
26   DATED: April 12, 2021                             /s/ Cheryl Lovdahl
                                                       Cheryl Lovdahl
27
28
                                                6
             DEFENDANT AND COUNTERCLAIM PLAINTIFF INTERFOCUS, INC., D.B.A.
             WWW.PATPAT.COM’S INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)
